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     Susan Lloyd
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     929 E Main St #101
                                                                       JUL 27 2022
 2
     Mt Joy, PA 17552                                       { N8,\¥��1�
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     213 321 9999

     domino7575@yahoo.com
 5          Plaintiff

 6                          UNITED STATES DISTRICT COURT

 7                          NORTHERN DISTRICT OF CALIFORNIA

                                   SAN FRANCISCO DIVISION

     Susan Lloyd,

                  Plaintiff                                 Case No
10
     V                                                       Judge {!__kn
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                                                                                                       .
11 Facebook, Inc.                                            COMPLAINT

12 1601 Willow Rd                                           DEMAND FOR JURY TRAIL

     Menlo Park, CA 94025
13
     AND
14
     Meta Platforms, Inc
15
     1601 Willow Rd
16 Menlo Park, CA 94025

17 AND

18 Mark Zuckerberg
     1601 Willow Rd
19
     Menlo Park, CA 94025
                                        �
20
                         \) e.,�'()J -'t�   I,,.

21

                                                   1
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 1 LLOYDS SECOND AMENDED COMPLAINT FOR ADA VIOLATIONS, VIOLATIONS OF

 l   SECTION 508 OF THE REHABILITATION ACT OF 1973, VIOLATIONS OF UNRUH

     ACT, FRAUD AND INTENTIONAL MISREPRESENTATION, VIOLATIONS OF

     CALIFORNIA CONSTITUTION ARTICLE 1, SECTION 1 AND DATA PROTECTION
 4
     ACT VIOLATIONS, INVASION OF PRIVACY, BREACH OF CONTRACT,
 5 NEGLIGENCE AND NEGLIGENT{:.:�l(>ID�L\ �\�\/"(I D(J fl 1.--
                                INFLICTION OF EMOTIONAL DISTRESS

 6 JURISDICTION

7 1.Plaintiff claims Federal jurisdiction pursuant to Article III 2
     which extends the Jurisdiction to cases arising under the US
8
     Constitution. US Constitution and Federal laws were violated and
9
     the amount in controversy exceeds 75, 000. 00. Under 28 USC 1332,
10
     federal courts may hear cases in which a Citizen of one state sues

11 a citizen of another state and the amount at stake is more than

12 75, 000. 00. In that kind of case, no Defendant may be a citizen of

     the same state as any Plaintiff which is the case here.
13
     2. This court has subject matter jurisdiction over this action
14
     pursuant to 28 USC 1331 and 1343(a) (4)
15
     The court has personal jurisdiction over Defendants because their
16 principal place of business or residence is in California and they

17 conduct and continue to conduct a substantial and significant

18 amount of business in California.
     VENUE
19
     3. Venue is proper in California pursuant to 28USC1391(b) (1) as
20
     this court has personal jurisdiction over the Defendants.
21
     INTRADISTRICT ASSIGNMENT
                                           2
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 1 4. This lawsuit should be assigned to the San Francisco Division

     because the Defendants principal place of business is in this
 2
     Division.
 3
     PARTIES
 4
     5. Plaintiff Susan Lloyd is a Pennsylvania resident who is a
 5 protected class who has been disabled under the ADA since 2006.

 6 6. Defendant Facebook Inc is an online social media and social

 7   networking service owned by Meta Platforms.

     7.     Defendant Meta Platforms Inc is formerly known as Facebook and
 8
     is a multinational technology conglomerate. They are the parent
 9
     organization of Facebook, Instagram and other subsidiaries.
10
     8. Defendant Mark Zuckerberg is the cofounder of Meta Platforms,

11 formerly known as Facebook,           and serves as its chairman, chief

12 executive officer and controlling shareholder. He launched

     Facebook on February 4, 2004.
13
     FACTS
14
             Defendants maintain a website called        "Facebook" which they
15
     use to make money through third party ads.           They illegally track
16 users even when the user is logged off of Facebook. They also are

17 not accessible under the ADA, Rehab Act and the Unruh Act.                They

18 also have a long history of not abiding by their own Rules which
     have allowed many people including Lloyd to be abused and
19
     threatened by other users on Facebook including threats to rape
20
     and murder Lloyd.       Any attempt to resolve this conflict by other
21
     means including reporting these other users have failed.

                                              3
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 1 Defendants have allowed this to occur for 5 plus years now on a

     continued repeated basis. Defendants refuse to abide by their own
 2
     Rules or any other federal or state law causing Lloyd to fear for
3
     her safety and suffer over 100, 000. 00 in injuries.
4
     CAUSES OF ACTION
 5    I. VIOLATION OF AMERICANS WITH DISABILITIES ACT

6         Lloyd states the following and includes but not limited to

7 all of the above:
     9. Under the ADA, websites must be accessible to users with
8
     disabilities. Since 2018, website accessibility lawsuits have made
9
     up½ of all ADA Title 3 claims as per americanbar. org. Title III
10
     recognizes websites as places of public accommodation. Defendants

11 own, lease or operate Facebook/Meta which is a place of public

12 accommodation and Plaintiff was denied Public accommodations due

     to her disability. THe Ninth Circuit has ruled in lawsuit against
13
     Monster. com and other circuits have already decided that if a
14
     website is the Defendants principal place of business then it must
15
     be accessible.     Facebook/Meta is Defendants principal place of
16 business as they make income off of ads they sell to their users

17 and Defendants have no other principal place of business.

18 California also has state law which requires websites to be
     accessible. Disabled people have the right to equal access to the
19
     goods and services that fellow citizens enjoy.
20
     10. Defendants website is not accessible to anybody who has no
21
     arms, problems with vision, cannot be viewed in both landscape and
                                           4
       Case 3:21-cv-10075-EMC Document 30-1 Filed 07/27/22 Page 5 of 34




 1 portrait orientations, font cannot be made bigger, the color

     combinations are not high contrast enough to be used by
 2
     individuals with vision impairments, text cannot be resized and/or
 3
     be readable when resized, form fields do not have visible labels,
 4
     users are not made aware of any incorrect, missing or errors
 5 entered into fields, images, gifs or videos cannot be disabled to

 6   prevent seizures, language tabs are not added, there is no

 7 accessibility statement, under display and accessibility there_is
     only an option to do dark mode or to make font smaller there is no
 8
     other accessibility options.         All of this violates the ADA.
 9
     Plaintiff is in a protected class under the ADA and has visual
10
     problems (poor vision, low vision, legally blind in left eye, etc)

11 due to many ada protected disabilities.

12 1 1.    Furthermore, Defendants use ads and allow other third parties

     to advertise on their sites which discriminate against disabled
13
     people such as housing which is not ADA accessible and does not
14
     allow service dogs.      These ads discriminate against Lloyd as
15
     Lloyd has disabilities protected under the ADA and has service
16 dogs.     Upon making Defendants aware of these discriminatory ads,

17 Defendants refuse to remove them.

18 12.     Defendants are responsible for any content on their site and

     they refuse to comply with the ADA.
19
     13.   Defendants also allow other users to harass disabled people
20
     and make fun of disabilities on their website.                Defendants refuse
21
     to remove these posts even after they are reported stating they do

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1 not violate their community standards so Defendants are stating it

     is okay to harass and make fun of disabled people.
2
     Therefore, Lloyd should be awarded damages for this cause of
 3
     action.
4
     14. Defendants also allow other users to harass Lloyd and make fun
5 of Lloyds ADA protected disabilities on their website. Defendants

 6   refuse to remove these posts (harassing Lloyd over her mobility

 7   scooter and oxygen and cigarette smoke sensitivities all of          which

     Lloyd uses for her ADA protected disabilities or are part of
8
     Lloyds ADA protected disabilities) even after they are reported
 9
     multiple times stating they do not violate their community
10
     standards which is not true as Defendants community standards

11 specifically state you cannot harass another individual. By

12 refusing to remove this content, Defendants are stating it is okay

     to harass and target a disabled person on their website.
13
     Defendants discrimination towards Lloyd was intentional, willful,
14
     wanton and done with reckless disregard for Lloyd. Defendants
15
     treated Lloyd differently because of her disability.          While they
16 remove content which harassses a non disabled individual, they

17 have allowed Lloyd to be harassed since 2016 by the same group of

18 people led by Joshua Thornsbery. Defendants apply their policies
     in a way that targets individuals such as Lloyd with disabilities.
19
     Lloyd also began to encounter accessibility barries with Facebook
20
     in 2020 as her health declined after contracting COVID.          Lloyd is
21
     disabled under the ADA since 2006. Zuckerberg should be held

                                           6
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 1 liable under alter ego as CEO of the company as he was personally

     involved and/or directed the challenged acts Lloyd states.
 2
     Defendants also facilitated discriminatory housing ads as stated
 3
     above which allow individuals such as Lloyd who use ADA protected
 4
     service dogs to be discriminated in housing and denied housing.
 5 Defendants know through Lloyds reports all of the above is ongoing

 6   and yet they refused to stop any of it for their own greedy

 7   financial gain.               Defendants website Facebook/Meta is used as the

     primary place of business for the Defendants to get income
 8
     (Billions of dollars a year) by showing ads to its users.                                              They

     refuse to remove the people who harass Lloyd over her ADA
10
     protected disabilities and they refuse to remove their

11 discriminatory housing ads as it would mean lower income to them

12 and they would hate to lose a dollar out of any of the billions of

     dollars they make every year.                         They also refuse to make their
13
     website accessible as required under Federal law as it would mean
14
     spending money to do so and Defendants refuse to spend money to
15  .            .          .                                                -rfu,r-t:ttl/('  L, ( o} ) .5 hvJ J �
   fix their own issues they have created.                                                  1
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16 II. VIOLATIONS OF SECTION 508 OF THE REHABILITATION ACT OF 1973

17 AGAINST ALL DEFENDANTS

18 Lloyd repeats the above                       and includes but not limited to the

     following:
19
     14. Under the Rehab Act, websites must be accessible to users with
20
     disabilities.             California also has state law which requires
21

                                                               7
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 1 websites to be accessible. Disabled people have the right to equal

     access to the goods and services that fellow citizens enjoy.
 2
     15. Defendants website is not accessible to anybody who has no

     arms, problems with vision, problems with hearing, cannot be
 4
     viewed in both landscape and portrait orientations, font cannot be
 5 made bigger, the color combinations are not high contrast enough

6 to be used by individuals with vision impairments, text cannot be

 7   resized and/or be readable when resized, form fields do not have

     visible labels, users are not made aware of any incorrect, missing
 8
     or errors entered into fields, images, gifs or videos cannot be
 9
     disabled to prevent seizures, language tabs are not added, there
10
     is no accessibility statement, under display and accessibility

11 there is only an option to do dark mode or to make font smaller

12 there is no other accessibility options.                  All of this violates the

l3 Rehab Act.
     16.   Furthermore, Defendants use ads and allow other third parties
14
     to advertise on their sites which discriminate against disabled
15
     people such as housing which is not ADA accessible and does not
16 allow service dogs and violates the Rehab Act.                    Lloyd was denied

17 this housing due to her use of a service dog and when Lloyd

18 reported these discriminatory ads to Defendants, they refused to
     remove them as they would lose profits by not being able to show
19
     these ads on their websites.
20
     17.   Defendants are responsible for any content on their site and
21
     they refuse to comply with the ADA and violates the Rehab Act.


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 1 18.    Defendants also allow other users to harass Lloyd, a person

     with disabilities on their website by harassing Lloyd over the use
 2
     of her mobility scooter and oxygen which Lloyd uses for her ADA

     protected disabilites.     This was all orchestrated by Joshua

     Thornsbery.   After Lloyd reported these posts dozens of times,
 5 each time Defendants state it was not against their community

 6   standards to harass Lloyd, a person with disabilities on their

 7   website even though it goes against Defendants own rules.

     Defendants refuse to remove these posts even after they are
 8
     reported stating they do not violate their community standards so
 9
     Defendants are stating it is okay to harass and make fun of
10
     disabled people. Defendants refuse to remove these posts or the

11 people making them as Defendnats would then lose revenue.

12 Defendants primary place of business is Facebook/Meta and they

     make revenue by showing Lloyd, Thornsbery and other people ads.
13
     Defendants allow Lloyd to be harassed maliciously, willful and
14
     wantonly and with total reckless disregard for Lloyd for their own
15
     financial gain. This is why Defendants do not make their website
16 accessible as stated in Count I as they would have to spend money

17 to do so and Defendants refuse to lose any revenu whatsoever even

18 at the detriment of Lloyd.       Defendants make billions of dollars a

     year off of Facebook/meta and they will not let go of a single
19
     dollar of it to make things right with Lloyd.         Lloyd began to have
20
     problems with accessibility of Defendants website in 2020 when her
21
     visual issues began to decline after COVID. These medical problems

                                          9
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 1 are protected under the ADA. DEfendants website is not accessible

      to people with vision issues as described above.                                                               Defendants are
 2
      required to have their website accessible as it is their principal
 3
      place of business.                       This has been upheld in the Ninth Circuit with
 4
      a case against Monster. com and in multiple other circuits with
 5 cases against Fox News, Blue Apron, etc. Defendants acted with

 6 discriminatory intent towards Lloyd and treated Lloyd differently

 7 due to her disability. Defendants apply its policies in a way that
      targets people with disabilities. Defendants own, lease and or
 8
      operate Facebook/meta a place of public accommodations.                                                                         A website
 9
      is a place of public accommodations under ADA Title 3. LLoyd was
10
     denied a place of public accommodations by Defendants not having

11 their principal place of business (their website) accessible.

12 Zuckerberg is liable under alter ego of the company and he was

     personally involved and/or directed the challenged acts cited by
13
     Lloyd.
14
      Therefore, Lloyd should be awarded damages for this cause of
15
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16 I I I. VIOLATIONS OF CALI FORNI A UNRUH ACT

17             Lloyd repeats the above and includes but not limited to the

18 following:
     19. California Unruh Act states that all persons are free and
19
      equal and no matter what their disability is they are entitled to
20
     full and equal accommodations, advantages, facilities, privileges,
21
     or services in all business establishments of any kind.

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 1 20.    By not having their website ADA accessible, Defendants

     violated the Unruh Act.          The Ninth Circuit has ruled in a lawsuit
 2
     against Monster. com that if a businesses principal place of

     business is their website, than it must be accessible.                                   Other
4
     circuits have agreed with cases against Fox News, Blue Apron, etc.
 5 Defendants website is not accessible to Lloyd, a person with

6 disabilities who is protected under the ADA for her multiple ADA

 7   protected disabilities including poor vision.                           Defendants website

     is not accessible to anyone with poor vision. Defendnats also
8
     allow others to violate their Rules and harass Lloyd for her ADA
 9
     protected disabilities sich as her mobility scooter and oxygen
10
     which Lloyd uses for her ADA protected disabilities as described

11 above in Counts I and II.              Defendants also allow discriminatory

12 housing ads to be shown on their website such as places that

     refuse service dogs even though they are not allowed to do so
13
     under Federal Law. Lloyd has been denied housing from these
14
     discriminatory ads as she has a service dog and when any of this
15
     was reported to Defendants, they state that this does not violate
16 their community standards when clearly it does. Defendants acted

17 with discriminatory intent towards Lloyd for the sole purpose of

18 financial gain.     Defendants have revenue in excess of billions of

     dollars a year and they refuse to lose a dollar of it and they
19
     would lose revenue if they stopped these discriminatory ads as ads
20
     are Defendnats sole source of revenue.                    Defendants also refuse to
21
     fix their website to be accessible for the same reason and to

                                           11

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 1 delete people who harassed Lloyd as again it would cost them money

     as they would lose money to revamp their website and they would
 2
     lose money by banning Thornsbery and others as they would not be

     allowed to show them ads anymore. Defendants treated Lloyd
 4
     differently because of her disability. Non disabled people are
 5 able to enjoy Defendants website when Lloyd cannot. Defendants

 6   apply its policies in a way that targets people with disabilities.

 7 Lloyd began to encounter barrier issues with Defendants website in
     2020 when her health began to decline after COVID. LLoyds vision
 8
     disabilities are protected under ADA. Defendants website is not
 9
     accessible to anyone with poor vision such as Lloyd. DEfendants
10
     own.operate and/or lease a place of public accommodation and Lloyd

11 was denied public accommodations since 2020 due to her disability.

12 Under Title 3, a website is a place of public accommodations and

     as stated above, Facebook/Meta is Defendants principal place of
13
     business where their sole income is showing ads to people using
14
     their site (billions of dollars a year) so it must be accessible.
15
     Zuckerberg should be held liable as he is alter ego of the company
16 and personally involved and/or directed the challenged acts Lloyd

17 states.

                                                                      , J C,e l-fvJl Gltii-1 ctJ1
18 Lloyd is entitled to dR.mages for this claim.Y} l1',J
                                                                    J                                 ()



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   IV. FRAUD AND INTENTIONAL MISREPRESENTATION
19
   Lloyd repeats all of the above and includes but not limited to the
20
   following
21

                                                 12
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 1 21.     Fraud under california law occurs when a Defendant

     represented to another a fact that was not true, the
 2
     representation was actually false, the Defendant knew the
 3
     representation was false, the Defendant intended the other person
 4
     to rely on the representation, the other person did rely on the
 5 representation, the other person was harmed by the reliance, the

 6 Plaintiffs reliance was a substantial factor in the harm

 7 suffered.
     22.   Facebook Statement of Rights and Responsibilities, states
 8
     that Facebook enables people to connect with each other, build
 9
     communities and grow businesses.            In order to use Facebook, you
10
     must use the same name that you use in everyday life, create only

11 one account, not share your password, give access to your facebook

12 account to others or transfer your account to anyone else.                                    You

     are not allowed to share content that is at the expense of safety
13
     and well being of others or the integrity of the community. You
14
     may not violate the Community Standards.                 You may not post
15
     information that is unlawful, misleading, discriminatory, or
16 fraudulent or that infringes on someone elses rights. Facebook

17 states they take seriously their role in keeping abuse off of

18 their service. Facebook states they are committed to making
     facebook a safe place and expression that threatens people has the
19
     potential to intimidate, exclude or silence others and is not
20
     allowed.   Facebook also states they are committed to protecting
21
     privacy and information. Facebook also states that people will

                                                13
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 1 respect the dignity of others and not harass or degrade others.

     Facebook also states they can disable accounts and contact law
2
     enforcement when there is a risk of physical harm or personal
3
     safety. They also state they do not allow organizations or
4
     individuals that proclaim a violent mission to have presence on
 5 Facebook.     They also regulate the sell of firearms on their site.

6 They also will reomve any content that depicts, threatens or

7 promotes sexual violence, sexual assault or sexual exploitation.
     They also state they remove content thats meant to degrade, shame,
8
     bully or harass private individuals.                        They also state they will
9
     not allow others to post personal or confidential information
10
     about yourself or others.               They will remove content that shares,

11 offers or solicits personally identifiable information. They will

12 also not allow hate speech among other things.

     23.   All of the above is fraudulent and intentional
13
     misrepresentation by the Defendants. Facebook has allowed since
14
     2016 for over 500 people to harass and bully Lloyd on Facebook,
15
     led by Joshua Thornsbery.               Many of these people do not use their
16 real names such as Robin White who goes by Harley Angel.                                    They

17 also create multiple accounts, share their passwords and have

18 testified that they give access to other people for their
     accounts.   They share content to threaten Lloyd.                                 They post about
19
     illegal drugs they use and they post about firearms they are
20
     attempting to purchase.              They have threatened to rape and murder
21
     Lloyd for over five years and each time they have been reported,

                                                        14
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 1 Lloyd and others were told it does not violate community

     standards.    They have threatened on Facebook to shoot Lloyd in the
 2
     chest with a gun, choke Lloyd to death, murder Lloyd for 50. 00,
 3
     get rid of Lloyd for a small fee, rape Lloyd, put Lloyd in a

     cemetery,    blow up Lloyds house, they post Lloyds picture and
 5 Lloyds address.          They brag about hallucinating from drug use.

 6   They post pictures of guns and state Lloyd will be in a cemetery.

 7   They organize through facebook events so they could come to Lloyds

     house and further harass Lloyd.                       Thornsbery admits to organizing
8
     over 500 of his facebook friends to threaten to harass Lloyd for
 9
     over a 5 year period.             Thornsbery admits that he uses Facebook to
10
     threaten Lloyd.        They use Facebook to harass Lloyd over her ADA

11 protected disabilities such as Lloyds scooter and oxygen and

12 service dog.      They also use Facebook to body shame Lloyd and make

     fun of Lloyds weight gain.                  They also state they will get the
13
     Hells Angels to harass Lloyd and post pictures of themselves at
14
     the Hells Angels events for Portage County Ohio.                                       The Department
15
     of Justice on April 29, 2021 states Outlaw Motorcycle Gangs (OMGs)
16 are organizations whose members use their motorcycle clubs as

17 conduits for criminal enterprises.                           OMGs are highly structured

18 criminal organizations whose members engage in criminal activities
     such as violent crime, weapons trafficking, and drug trafficking.
19
     There are more than 300 active OMGs within the United States,
20
     ranging in size from single chapters with five or six members to
21
     hundreds of chapters with thousands of members worldwide.                                        The

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 1 Hells Angels, Mongols, Bandidos, Outlaws, and Sons of Silence pose

     a serious national domestic threat and conduct the majority of
 2
     criminal activity linked to OMGs, especially activity relating to

     drug-trafficking and, more specifically, to cross-border drug
4
     smuggling. Because of their transnational scope, these OMGs are
5 able to coordinate drug smuggling operations in partnership with

 6 major international drug-trafficking organizations (DTOs).

 7   And yet, Facebook allows the Hells Angels to have pages on their

     site where they can organize and have gatherings.                                              Mr Thornsbery
 8
     and over 500 of his friends belong to many motorcycle gangs
9
     including the Hells Angels.                   They threaten to have the Hells
10
     Angels murder Lloyd.

11 Besides threatening to murder Lloyd, they also allow Thornsebry

12 and over 500 of his friends to threaten to rape Lloyd on their

     site. They allow them to also post where Lloyd is so others can
13
     show up and harass Lloyd such as Staci Dalton Liddle who posted
14
     that Lloyd was at Streetsboro Ohio library. They allow Thornsbery
15
     and his friends to post lloyds picture, Lloyds address, pictures
16 of Lloyds property among many other things so others know where

17 Lloyd lives so they can also harass Lloyd.                                     They even post that

18 they will sit in front of Lloyds house to harass Lloyd.                                                This has

     gone on for 5 years and Defendants refuse to ban these 500 people
19
     from their sites and they allow this behavior to continue towards
20
     Lloyd, a disabled person.                  They even allow them to brag on
21
     facebook that they pissed on Lloyds fence, damaged Lloyds fence,

                                                          16
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 1 blow cigarette smoke at Lloyd while she is on oxygen, post

     pictures of Lloyds cameras and state how they can get around
 2
     Lloyds security system and how they can use signal jammers to

     block Lloyds cameras which they did, forcing Lloyd to reinstall
 4
     wired cameras.   They even brag on Facebook about having large
 5 massive illegal fires which were determined to be illegal by the

 6 EPA and they do this to harass Lloyd knowing Lloyd has breathing

 7 troubles.     They even state they will all go to Thornsberys to

     maliciously and purposefully harass Lloyd.                      They even talk about
 8
     other ways they can murder and injure Lloyd.                        They brag about
 9
     revving up motorcycles in the middle of the night to harass Lloyd
10
     and they brag about other ways they can injure Lloyd on Facebook.

11 There is hundreds if not thousands of posts all dedicated to Lloyd

12 and how they will injure, murder and harass Lloyd.                              It is truly

     frightening and the majority of these people have severe criminal
13
     records including Thornsbery who stated he will choke Lloyd to
14
     death on Facebook.      He has a 20 year history of throwing a woman
15
     to the ground twice, punching holes in his mothers walls and other
16 violent crimes and yet Defendants allow him to organize well over

17 500 people and counting to threaten to rape and murder Lloyd,

18 bully and harass Lloyd since 2016.                   Thornsbery admits to owning

     over 50 deadly weapons and admits to organizing these people to
19
     harass and threaten Lloyd and admits this is ongoing through
20
     Facebook.
21

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 1 24.      As   a direct result of the Defendants allowing this to

     continue for 5 plus years, Lloyd fears for her safety and has fled
 2
     the State of Ohio.          Thornsbery however, admits to hacking into
3
     Lloyds Facebook page and found out Lloyd is residing in the state
4
     of Pennsylvania where he admits to still having well over 500 of
 5 his friends organized through Facebook to harass Lloyd.

 6    25. It is clear Defendants represented to Lloyd a fact that was

7 not true, the representation was actually false, the Defendant
     knew the representation was false, Defendants intended Lloyd to
8
     rely on the representation, Lloyd did rely on the representation,
9
     Lloyd was harmed by the reliance, Lloyds reliance was a
10
     substantial factor in the harm suffered.

11 26.      These posts by Thornsbery and over 500 of his friends

12 directed towards Lloyd has been reported hundreds of times over

     the past 5 years via Facebook and certified letters with copies of
13
     the posts mailed to Defendants.                    Defendants violate their own
14
     Regulations by allowing this behavior to go on for 5 plus years
15
     after being made aware of this since 2016. Defendants each time
16 have stated these posts do not go against their community

17 standards which is simply not true.                          Defendants have allowed this

18 to continue for their own financial gain as Defendants make money
     off of Thornsbery and the others harassing Lloyd by showing them
19
     ads.    This is the only reason why they refuse to remove these
20
     posts and these people violating their community standards by
21
     threatening and harassing Lloyd for over 5 years. Since Defendants

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 1 have refused to stop this behavior, Thornsbery and others have

     been able to recruit even more people to threaten Lloyd through
 2
     the use of Facebook.            Defendants violate their own contract with
 3
     Lloyd. Section 230 does not allow Defendants to be immune when the
 4
     posts involve threats to murder and rape Lloyd. They even organize
 5 others to gang stalk Lloyd through the use of Facebook who state

 6 they will sit outside Lloyds house and watch Lloyd.

 7   Defendants intended to commit fraud. Any reasonable person would

     rely on Defendants statements and/or representations.                                          Defendants
 8
     did this to induce Lloyd to use their website and in fact induced
 9
     Lloyd to do so.        It was reasonable for Lloyd to rely on Defendants
10
     representations. Defendants make false representations on their

11 website for financial gain as they make money by showing their

12 users ads and this is why they refuse to ban people who violate

     their contracts. As a result of Defendants intentional, false,
13
     reckless, willful and wanton misrepresentations, Lloyd suffered
14
     injuries.      Zuckerberg should be held liable also as alter ego as
15
     he knew about this and/or directed others to do so.
16
   Therefo(fe, Lloyd j.s entitled to d91mages �or this claim. f\ lJ � .,
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                        1                                               -)       I
   V. VIOLATIONS OF CALIFORNIA CONSTITUTION ARTICLE 1, SECTION 1 AND
18
     DATA PROTECTION ACT VIOLATIONS
19 Lloyd repeats all of the above and states the following which

20 includes but not limited to

21

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1 27. California Constitution Article I, Section I states that each

     citizen has an inalienable right to pursue and obtain privacy.                          It
2
     is even a crime in California to access and without permission
3
     use, misuse, abuse, damage, contaminate, disrupt or destroy a

     computer.   California law also requires a business to notify any
 5 person whose information was acquired by an unauthorized person.

6 It is also illegal to record any telecommunications without

7 permission.
     28.   Lloyd never gave Facebook any permission to track her while
8
     she is on her computer or any other electronic device and not
 9
     logged into Facebook.
10
     29.   Facebook has no authority to track Lloyd on her computer or

11 electronic devices when she is not logged into Facebook and Lloyd

12 never gave Defendants permission to store her credit card

     information nor has Lloyd ever given defendants her cc
13
     information. Lloyds information when logged off Facebook is
14
     sensitive, confidential and relates to personal decisions or
15
     personal activities. Defendnats have collected data on Lloyd which
16 is sensitive and confidential and states they can even keep Lloyds

17 credit card information forever.                Lloyd has never used her credit

18 card information on Facebook, only at third party websites when
     logged off of Facebook such as Amazon, Chewy, etc. Lloyd has a
19
     reasonable expectation of privacy when she is logged out of
20
     Facebook doing other personal things. Defendants conduct
21
     constitutes egregious invasion of privacy and an egregious breach

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 1 of social norms. This disclosure of Lloyds private information

     would be offensi ve to any reasonable person and Lloyd was not only
 2
     offended but downright disgusted and frightened by i t which caused

     Lloyd severe emotional distress. Lloyd is tracked by Defendants so
 4
     they can show her ads for their own                                      sole financial gain .   As a
 5 result Defendants collected unlawful profits while Lloyd suffered

 6   concrete and particulari zed harm. Defendants publ ici z ed Lloyds

 7   private information such as her address , picture , and medical

     conditions on their websi te. Thornsbery admits to this information
8
     being seen by well over 500 people. It was actually seen by alot
 9
     more, anybody on Facebook, as Thornsberys page is set to publ ic
10
     which means anybody on Facebook could see thi s information. Lloyd

11 made Defendants aware her privacy was being violated by themselves

12 and others through certified letters and reporting it on Facebook .

     Defendants have allowed this to occur anyways in violation of
13
     their own contracts with Lloyd where Defendants state they will
14
     protect the privacy of i ts users. Defendants made certain that the
15
     public coul d view Lloyds private information. Defendants also use
16 cookies and other i llegal plug ins to track and save information

17 about Lloyd (when Lloyd is logged off of Facebook and doing

18 private information on other third party sites) including Lloyds
     credit card information so they can sell this information to its
19
     advertisers.        Defendants have settled multiple lawsuits in regards
20
     to the same issues Lloyd is complaining about and yet refuses to
21
     settle the case w ith Lloyd and continued to track Lloyd on third

                                                      21
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 1 party sites. Re : Internet Tracking litigation , US District Court,

     Northern District California, No 12-md-02314. Defendants violated
 2
     Federal and State Privacy Laws along with wiretapping by tracking
 3
     Lloyd.   They even crossed state lines to do so as Lloyd is in
 4
     Pennsylvania and Defendants are in California which makes their
 5 activities a Federal crime. Defendants unlawfully compiled Lloyds

 6 user data including Lloyds browser history on her Laptop, kindle

 7 and phone so they can sell to 3rd parties ads to target to Lloyd
     so they can make profits. This disclosure would be offensive to
 8
     any reasonable person and it is obvious that is the case as there
 9
     is many lawsuits in regards to these same issues against
10
     Defendants which they have settled or are still pending such as

11 Lloyds.    Defendants had to pay a 5 billion dollar fine in 2019 and

12 on Feb 15, 2022, was sued by the Texas Attorney General for these

     very reasons.   Lloyd also recently reported them to the
13
     Pennsylvania Attorney General as Defendants continue this same
14
     behavior towards Lloyd even after being sued by Lloyd. Facebook
15
     allows users to threaten Lloyd also for this very reason.                                        They
16 make money off of ads they show to Lloyds abusers whikle they also

17 track them on third party sites.                     Defendants value profit over the

18 safety of their users. On Feb 18, 2022 (while this case was
     pending) , Defendants agreed to pay 90 million dollars to settle
19
     Data Privacy Lawsuits in regards to this same issue with other
20
     people and yet Detfendants refuse to settle with Lloyd even though
21
     Lloyd gave them a much lower settlement offer at the onset of this

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 1 case. Defendants made public disclosures in regards to Lloyds

     private information. These disclosures violated Lloyds privacy
 2
     rights and/or defamed Lloyd in a false light. The information

     disclosed by Defendants was falsifying or violated Lloyds right to
 4
     privacy. Any average person would consider the information
 5 offensive, and any reasonable person would suffer loss of

 6   reputation, shame or danger and ascertainable financial losses.

 7 30.     Facebook continues to track Lloyd when she is not logged into

     facebook and is using other third party sites such as Chewy. com,
8
     Target. Com, etc.
 9
     31.   The minute Lloyd logs back into her Facebook account, ads
10
     from these other third party sites immediately show up on Lloyds

11 facebook account.

12 32.     Lloyd never gave permission for this to occur and it is

     illegal for Defendants to do this.
13



15
     Lloyd repeats all of the above and includes but not limited to the
16 following

17 33. California Constitution Article I, Section I states that each

18 citizen has an inalienable right to pursue and obtain privacy. It
     is even a crime in California to access and without permission
19
     use, misuse, abuse, damage, contaminate, disrupt or destroy a
20
     computer. California law also requires a business to notify any
21
     person whose information was acquired by an unauthorized person.

                                         23
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 1 It is also illegal to record any telecommunications without

     permission . Lloyd never gave Defendants any permission to keep her
 2
     credit card information that she never used on Facebook and/or
3
     track her while she is on her laptop, kindle or phone or any other
 4
     electronic device and not logged into Facebook. Lloyd claims a
 5 legal ly protected privacy interest.                      Lloyd had a reasonable

 6 expectation of privacy and Defendants invaded Lloyds privacy.

 7 Defendnats have no authority to track Lloyd on any of her
     electronic devices when she is not logged into Facebook.                                          They
8
     even did this across state lines (Lloyd is in Pennsylvania and
 9
     Defendants are in California) , which makes this a Federal crime.
10
     Lloyd recently reported this to PA Attorney general as Defendants

11 continued this behavior even after Lloyd filed this lawsuit.

12 Lloyds information when logged off Facebook is sensitive, and
     confidential and relates to personal decisions or personal
13
     activities. Defendants have collected data on Lloyd                                   which is
14
     sensitive and confidential. Lloyd had a reasonable expectation of
15
     privacy when she is logged out of Facebook doing personal things
16 on her electronic devices. Defendants conduct constitutes

17 egregious invasion of privacy and an egregious breach of social

18 norms. This disclosure of Lloyds private and personal information
     would be offensive to any person and was offensive to Lloyd and
19
     caused Lloyd severe emotional distress. As a result Facebook
20
     collected unlawful profits while Lloyd suffered concrete and
21
     particularized harm. Defendants also publicized Lloyds private

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 1 information such as her address and medical conditions on their

     website. Thornsbery admits to this being seen by at least 500
 2
     people and many more saw it as Thornsbery ' s posts was set to
3
     public which means anybody on Facebook can see this information.
 4
     Lloyd made Defendants aware of this via Facebook and certified
5 letters sent to Defendants but they refused to remove the content

6 stating it does not go against their community standards.

 7   DEfendants use cookies and other plug ins to track Lloyd while she

     is logged off facebook and on other third party sites so they can
 8
     sell Lloyd ads.            They also retain Lloyds credit card information
 9
     which is used on these 3rd party sites and then sell this
10
     information to others. Facebook has settled multiple other

11 lawsuits in regards to the issues Lloyd is complaining about but

12 refuse to settle with Lloyd and in fact continue to track Lloyd.

     Defendants unlawfully compiled Lloyds user data including browsing
13
     history to sell to 3rd parties to target ads to Lloyd. This
14
     disclosure is offensive to Lloyd and many other 3rd parties based
15
     on the number of lawsuits Defendants have against them or have
16 settled in regards to this matter and the fines they have paid in

17 regards to this matter including a 5 billion dollar fine in 2019

18 and a recently filed lawsuit by the Texas Attorneys Generals
     office.    Lloyd has reported this to the PA attorney general also.
19
     Defendants value profit over the safety and privacy of its users.
20
     Defendants made public disclosures in regards to Lloyds private
21
     information which violated Lloyds privacy rights or defamed Lloyd.

                                                    25

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 1 Any reasonable person such as Lloyd would consider the information

     offensive and would suffer loss of reputaion, shame or danger.           A
2
     person is liable for constructive invasion of privacy when they

     capture, any type of visual image, sound recording or other

     physical impression of the Plaintiff engaging in a private,
 5 personal or familial activity, through the use of any device, when

6 this could not have been achieved without a trespass unless the

7 device was used.
     34. A person who commits this act is liable for up to three times
8
     the amount of any damages.
9
     35.   A person who causes another person to violate this provision
10
     is also liable for damages. Zuckerberg is liable under alter ego

11 as he was personally involved and/or directed someone else to

12 violate Lloyds privacy right.

     36.   Defendants have used an illegal device to track Lloyd on her
13
     computer and other electronic devices so they can make money off
14
     of ads they then show Lloyd on her Facebook page.         This illegal
15
     device is used when Lloyd is signed off of Facebook and is on
16 other third party sites such as Chewy. com, Target.com, etc

17 37.     Defendants are also liable for third parties invasion of

1 8 privacy by allowing Thornsbery and over 500 of his Facebook
     friends to post Lloyds address, post pictures of Lloyd, post
19
     pictures of Lloyds property, post about Lloyds disabilities, post
20
     about Lloyds medical conditions including Lloyds scooter and
21
     oxygen, post Lloyds location, so others would threaten and harass

                                         26
      Case 3:21-cv-10075-EMC Document 30-1 Filed 07/27/22 Page 27 of 34




 1 Lloyd.     Defendants have known about this behavior since 2016 and

     refuse to stop it.
 2
  Therefore, Lloyd is entitled to damages for this claim : nc...L.., J, h>
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  VI. BREACH OF CONTRACT
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          Lloyd repeats all of the above and includes but not limited
5 to the following :

 6   38. Facebook Statement of Rights and Responsibilities, states that

 7 Facebook enables people to connect with each other, build
     communities and grow businesses.                      In order to use Facebook, you
8
     must use the same name that you use in everyday life, create only
 9
     one account, not share your password, give access to your facebook
10
     account to others or transfer your account to anyone else.                                        You

11 are not allowed to share content that is at the expense of safety

12 and well being of others or the integrity of the community. You

     may not violate the Community Standards.                              You may not post
13
     information that is unlawful, misleading, discriminatory, or
14
     fraudulent or that infringes on someone elses rights. Facebook
15
     states they take seriously their role in keeping abuse off of
16 their service. Facebook states they are committed to making

17 facebook a safe place and expression that threatens people has the

18 potential to intimidate, exclude or silence others and is not
     allowed.    Facebook also states they are committed to protecting
19
     privacy and information. Facebook also states that people will
20
     respect the dignity of others and not harass or degrade others.
21
     Facebook also states they can disable accounts and contact law

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 1 enforcement when there is a risk of physical harm or personal
     safety. They also state they do not allow organizations or
2
     individuals that proclaim a violent mission to have presence on
3
     Facebook.   They also regulate the sell of firearms on their site.

     They also will reomve any content that depicts, threatens or
 5 promotes sexual violence, sexual assault or sexual exploitation.

6 They also state they remove content thats meant to degrade, shame,

 7 bully or harass private individuals.                                  They also state they will

     not allow others to post personal or confidential information
8
     about yourself or others.                  They will remove content that shares,
 9
     offers or solicits personally identifiable information. They will
10
     also not allow hate speech among other things.

11   39 .   Defendants refuse to abide by their own rules and

12 regulations. Even after being made aware of Violations by other
     third parties via certified letters and this lawsuit, Defendants
13
     refuse to take action for the past five years.                                     Defendants are not
14
     immune under 230 as these third parties threatened to murder and
15
     rape Lloyd and threats are not covered under section 230.                                              The
16 court of Appeals for First District of Texas required Defendants

17 to not only remove their own posts but the posts of other 3rd

18 parties. Facebook refused to remove these same comments that a
     court forced deletion of. Section 230 does not shield a company
19
     from    legal liability when these posts include threats against
20
     someones life and criminal activity. Facebook actually uses
21
     algorithms which attract Thornsbery and others to make these

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 1 posts. Thornsbery and over 500 of his friends threaten to murder

     and rape Lloyd on Facebook and brag about damaging Lloyds property
 2
     and drug use and even brag about hallucianting from drug use. They
 3
     also use Facebook to organize more crimes against Lloyd including
 4
     threats to have the hells Angels murder Lloyd. Defendnats have
 5 allowed this to occur since 2016 all the while Ohio and other

 6   states form bills to prevent threats and harassment on Facebook.

 7 Facebook is even aware that people under similar conditions usch
     as Lloyd have committed suicide and Lloyd has been diagnosed with
 8
     PTSD as a result of Defendants actions of allowing others to
 9
     threaten Lloyd for 5 plus years. In fact, more recently Facebook
10
     allowed the Uvalde school shooter to post he is going to shoot his

11 grandmother, then he shot his grandmother, and then to post he is

12 going to shoot up the Elementary School where he proceeded to kill

     19 students and 2 teachers . Facebook has even allowed live
13
     streaming of murders such as Steve Stephens murdering Robert
14
     Godwin Sr in Cleveland Ohio and in 2017 allowed torturing of a man
15
     with special needs to be livestreamed on Facebook in Chicago.
16 These videos of murder and torture have gone viral thanks to

17 Facebook. Defendants have an obligation to remove threats towards

18 Lloyd so she feels safe on their site under their own contracts
     with Lloyd. Defendants violated their own contracts with Lloyd. No
19
     user has Freedom of Speech with their comments directed towards
20
     Lloyd as Lloyd is a private citizen. Zuckerberg as an alter ego is
21
     liable for orchestrating this attack towards Lloyd on facebook.

                                          29
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 1 40.     As a direct result Lloyd is a victim of harassment and

     threats to murder her due to Defendants reckless behavior.                                                       This
 2
     has led Lloyd to fear for her safety for 5 plus years.
 3
   Therefore, Lloyd should be awarded damages for this claim ( �J J� �
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   VII. NEGLI�ENCE AND NEGLIGEN �/ INFLtCT'ION OF EMOTIONAL DISTRESS
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 5         Lloyd repeats all of the above and includes but not limited

 6 to the following :

 7 41. Under California Law, emotional distress damages can be
     claimed by someone who is a victim of anothers wrongful act.
 8
     Serious emotional distress exists if an ordinary reasonable person
 9
     would be unable to cope with the mental stress engendered by the
10
     circumstances.               The Defendant must exhibit negligent conduct and

11 the Plaintiff suffered as a result.

12 42.     Defendants were negligent by violating their own contract

     with Lloyd.           Defendants falsely state that Facebook will be a safe
13
     place for all to use.                       Instead, they have allowed over 500 people
14
     to talk about drug abuse on Facebook to the point they
15
     hallucinate, and then threaten to murder and rape Lloyd.                                                       They
16 also allow organized crime activities such as the Hells Angels to

17 have organized activities on Facebook and to discuss their

18 meetings on facebook.                         This same group has threatened to murder

     Lloyd.
19
     Lloyd fears for her safety, has had severe emotional distress to
20
     the point she is undergoing counseling from PTSD and will never be
21
     the same again as a direct result of the Defendants allowing 500

                                                                   30

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 1 people and counting to threaten to rape and murder Lloyd.                                                     Any

     reasonable person would fear for their safety as a result of the
 2
     Defendants negligence and fraud. Defendants owed a duty to Lloyd
3
     under their own contracts with Lloyd.                                   Furthermore, under the law
 4
     everybody has a duty not to harm anyone else. Lloyds emotional
 5 distress rose out of Defendants fraud, negligence, breach of their

 6 own contract and their own duty towards LLoyd.                                                   Their conduct was

7 intentional, reckless, willful and wanton.                                             They have shown

     indifference to Lloyd and treated Lloyd differently than they
8
     treated non disabled users of their websites. Defendants conduct
9
     put Lloyd at risk of severe physical harm and death as over 500
10
     people threaten to rape and murder her under direction of Joshua

11 Thornsebry on Facebook and Defendants have allowed it for 5 plus

12 years.    Defendants are not immune under Section 230 as their is

     threats to murder lloyd such as they will shoot Lloyd in the chest
13
     with a gun, they will rape Lloyd, they will choke Lloyd to death,
14
     they will put Lloyd into a cemetery, they will blow up Lloyds
15
     house, they peed on Lloyds fence, they damaged Lloyds fence, they
16 will damage other sections of Lloyds house, etc. Lloyd has

17 reported these posts to Defendants via Facebook, via certified

18 letters and through this lawsuit and yet they refuse to do
     anything. Facebook allows this to continue for their own financial
19
     gain as they would lose money by banning these people as they sell
20
     them ads to make profits.
21
     Therefore Lloyd should be entitled to damages for this claim

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 1
     JURY TRAIL DEMAND
 2          Lloyd demands a jury trail for all causes of actions

 3
     ARTICLE III COURT DEMAND

            Lloyd declines a magistrate and requests this case be in an
 5 Article III court at all times.

 6
     DEMAND
 7
       1.     Permanent ban of Joshua Thornsebry and any and all of his
 8          Facebook friends who have bullied, harassed, and threatened

 9          Lloyd and permanent removal of any posts in regards to Lloyd.

10     2. Compensatory damages well in excess of 1 00, 000. 00 including

            lawyers fees, actual damages, punitive damages, intentional
11
            emotional distress damages
12
       3. Force Defendants to make their websites ADA compliant as
13
            required by law

14     4. Force Defendants to make their websites safe for all users

15          and to use a system of real people and not computer

            algorithms to investigate complaints.
16
       5 . Force Defendants to not invade their users privacy when they
17
            are logged off of Facebook.
18
       6. Force Defendants to give Lloyd a list of all third parties
19          who they have given Lloyds information to

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      Case 3:21-cv-10075-EMC Document 30-1 Filed 07/27/22 Page 33 of 34




 1 I declare under penalty of perjury under the laws of the State of

     California that the foregoing is true and correct. Today ' s Date:
 2
       July 24, 2022-------
 3
            susan 1�                                                                              PRINT YOUR NAME
 4                                ----�
                                                                         SIGN YOUR NAME
                 �


                                                                                       Susan Lloyd
 6
                                                                                       /s/ Susan Lloyd
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                                                                                       929 E main St #101

 8                                                                                     Mt Joy, PA 17 552

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      Case 3:21-cv-10075-EMC Document 30-1 Filed 07/27/22 Page 34 of 34




 1 CERTIFICATE OF SERVICE
                              � b\-'lbVliD C,t t'k, ) c__,,o:1tc.. j\t'
     A copy of Lloyds second amencfect complaint was served via email to
 2
     Joanthan liu and via ups                       to Orrick, Herrington and Sutcliffe law
 3
     firm 1000 Marsh Rd Menlo Park, CA                              94025    Ov,j\J �� �Y, �V��
 4
                                                                                    Susan Lloyd
 5                                                                                  Isl   Susan Lloyd

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